      FOSS
  DECLARATION
    EXHIBIT 4




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 Joel A. Pisano 
 Direct Dial: (973) 757‐1035 
 jpisano@walsh.law 
                                                        February 11, 2019
 VIA ECF
 Honorable Michael A. Shipp, U.S.D.J.
 United States District Court for the District of New Jersey
 Clarkson S. Fisher Federal Building & U.S. Courthouse
 402 East State Street
 Trenton, New Jersey 08608

           Re:       NewMarket Pharmaceuticals, LLC v. VetPharm, Inc. et al.
                     Civil Action No. 3:17-cv-01852-MAS-TJB

 Dear Judge Shipp:

        We write in response to the Court’s December 12, 2018 Order requiring the parties to
 submit to arbitration by Tuesday February 12, 2019 (ECF No. 101). Late Friday, VetPharm
 informed NewMarket for the first time that it would not be refiling for arbitration – despite twice
 having vehemently demanded that this Court stay the present action in favor of VetPharm’s
 previously-filed arbitration (Case 01-17-0001-4888) (the “Arbitration”). Since the Court’s Order
 was issued, VetPharm had been telling NewMarket for months that it would attempt to revive its
 previously-filed Arbitration, and if not permitted to do so would refile for a new arbitration. See,
 correspondence between NewMarket and VetPharm attached hereto as Exhibit A. The AAA
 informed VetPharm that it could not revive the Arbitration and would have to file anew.

          NewMarket believes that VetPharm will be in breach of the Court’s Order by refusing to
 refile or “complete” its arbitration and respectfully asks the Court for an emergency clarification
 so that the parties may proceed in an appropriate manner. VetPharm’s belated and misleading
 conduct has necessitated this urgent request.

          The Court’s December 12, 2018 Order was clear: the Court reinstated the stay pending
 the parties’ completion of arbitration pursuant to the Court’s April 5, 2017 Order compelling
 arbitration. (ECF No. 22.). Notwithstanding VetPharm’s arguments to the contrary, NewMarket
 fully participated in the Arbitration before it was withdrawn by VetPharm. VetPharm’s only
 complaint with respect to NewMarket’s conduct in the arbitration was that NewMarket could not
 afford to pay any fees associated with the arbitration. However, the AAA Rules are clear that
 nonpayment any fees will never preclude defense to a claim: “In no event, however, shall a party
 be precluded from defending a claim or counterclaim.” AAA Commercial Arbitration Rules and
 Mediation Procedures R57(b) attached hereto as Exhibit B. So even arguendo VetPharm was
 correct that NewMarket’s counterclaims were not part of the Arbitration, the AAA rules make clear
 that NewMarket fully participated in the Arbitration by defending itself against VetPharm’s claims.
 By refusing to file for arbitration VetPharm is effectively willing to waive any and all claims against
 NewMarket.



  
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          NewMarket’s position is simple, according to this Court’s Order, if VetPharm refuses to file
 for arbitration - as it has twice demanded - then the instant action should proceed. This result is
 particularly warranted now that NewMarket has since filed for the appointment of a liquidating
 trustee and to dissolve (MER-C-1-19) (the “Insolvency Action”). VetPharm’s refusal to refile its
 previously withdrawn arbitration constitutes a material breach of the arbitration requirement
 rendering resolution of all disputes in the district court appropriate. See e.g. Roach v. BM
 Motoring, LLC, 2017 WL 931430 (N.J. Mar. 9, 2017), See also, Pre-Paid Legal Services, Inc. v.
 Cahill, 786 F.3d 1287 (10th Cir. 2015); Sink v. Aden Enterprises, Inc., 352 F.3d 1197 (9th Cir.
 2003); Sanderson Farms, Inc. v. Gatlin, 848 So.2d 828 (Miss. 2003). VetPharm’s actions make
 clear that it never had any intention with returning to arbitration – no reasonable party would
 withdraw an arbitration if it believed that the opposing party had no counterclaims against it.

       We thank the Court for its continued attention to this matter, and are available should
 Your Honor or Your Honor’s staff require anything further or have any questions.


                                                       Respectfully submitted,

                                                       s/Joel A. Pisano

                                                       Joel A. Pisano

 Enclosures
 cc:   All Counsel of Record (via ECF and E-mail)




  
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